 Case 1:22-mj-00119-WEF Document 48 Filed 07/09/22 Page 1 of 1 PageID# 159




                 IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )      Crim. No. 1:22mj119
                                     )
JOSE COVARRUBIAS-GONZALEZ,           )
      Defendant.                     )
____________________________________)

                           NOTICE OF ATTORNEY APPEARANCE

       Please note the appearance of undersigned as retained counsel for Defendant Jose

Covarrubias-Gonzalez in substitution of appointed counsel Larry C. Brown, Jr.

                                                      Respectfully Submitted,

                                                      JOSE COVARRUBIAS-GONZALEZ
                                                      By Counsel

                                                      _____/s/____________
                                                      John C. Kiyonaga

                                                      600 Cameron Street
                                                      Alexandria, Virginia 22314
                                                      Telephone: (703) 739-0009
                                                      Facsimile: (703) 549-2988
                                                      E-mail: john@johnckiyonagaa.com

                                                      Counsel for the Defendant

                                 Certificate of Electronic Service

       I hereby certify that on July 9, 2022, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF System, with consequent service on all parties.

                                                      ____/s/_____________
                                                      John C. Kiyonaga




                                                 1
